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Case 1:06-cr-00116-LG-JMR DocumentS Filed 11/22/2006 Page 1of8

SOUTHERN DISTRICT OF MISSISSIPPI

FILED
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI NOV 2 2 2006
JACKSON DIVISION | Raa
: . . . DEPUTY
UNITED STATES OF AMERICA )
v ’ {. OG Cy (lV

>

MORGAN LEE THOMPSON )
PLEA AGREEMENT —

Morgan Lee Thompson, the Defendant, and his attorney, James L. Farrior, III, have been
notified that:

1. Defendants Obligations —

If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
information to be filed in this case, charging him with the felony crime of Comspiracy to Deprive
Rights Under Color of Law, ix violation of 18 U.S.C. § 241, and ifhe fully cooperates with federal
and state law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil
Rights Division and the United States Attorney for the Southern District of Mississippi
(“Government”) and with the District Attorney for the Second Circuit Court District of Mississippi
(“District Attorney”), a8 set out in paragtaphs 9 and 10. ,

2, Goyernment’s Obligations

a) Thereafter, the Government will recommend that the Court: (i) accept the -
Defendant’s plea of guilty; and (ii) inform the United States Probation Office and the
Court of this Agreement, the nature and extent of Defendant's activities with respect
to this case and all other activities of Defendant which the.Government deems
relevant to sentencing, including the nature and extent of Defendant's cooperation
with the Government.

b) The Defendant has timely notified the Government of his intent to enter a plea of
guilty. Ifthe Defendant qualifies for a decrease under U.S. S,G. §3E1.1(a), and ifthe |
Defendant’s offense level determined prior-to the operation of U.S.S,G. § 3E1.1(a)

is a level 16 or greater, the Government will move for an additional one-level:
decrease in the guidelines in accordance with U.S.8,G, § 3E1.1(b).

c) Should the Government determine that Defendant has provided substantial assistance
io law enforcement officials in an investigation or prosecution, and has fully
complied with the understandings specified in this Agreement, then the government
may submit a motion pursuant to United States Sentencing Guidelines (“U.S.8.G.”)

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§ 5KI.1 (and Title 18, United States Code, Section 3553(e), if applicable),
requesting that the Court sentence Defendant in light of the factors set forth in
U.S.S.G, § 5K1.1(a)(1)-(5). The determination as to whether Defendant has provided
such substantial assistance shall rest solely with the Government. Should any
investigation in which Defendant offers information be incomplete at the time of his
sentencing, the Government may, in lieu of a downward departure at sentencing,
move for a teduction in sentence pursuant to Rule 35 of the Federal Rules of
Criminal Procedure at such time asthe cooperation is complete. It is understood that,
even if such a motion is filed, the sentence to be imposed on Defendant remains
within the sole discretion of the Court.

3, Count of Conviction

It is understood that, as-of the date of this Plea Agreement, the Defendant and his attorney
have indicated that the Defendant desires to plead-guilty to Count One of the Information.

4, Sentence

The Defendant understands that the penalty for the offense charged in Count 1 of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not to exceed ten (10) years; a term of supervised release of not less than thrée (3)
years; and a fine of up to $250,000. The Defendant further understands that a term of supervised
release will be imposed and that the term will be in addition to any prison sentence he receives;
further, if any of the terms of supervised release are violated, the Defendant can be returned to prison
for the entire term of supervised release, without credit for any time already served on the term of
supervised release prior to thé Defendant’s violation of those conditions. Itis further understood that
the Court may require the Defendant to pay restitution in this matter in accordance with applicable
law, The Defendant further understands that he is liable to make restitution for the fall amount of

the loss determined by the Court to constitute relevant conduct, which is not limited to the count of
conviction.

5. Stipulation

The Defendant will plead guilty because he is in fact guilty of the chargé contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following facts
that establish his guilt beyond a reasonable doubt:

Morgan Lee Thompson is a former Harrison County Sheriff's Department Corrections
Officer who worked the Harrison County Adult Detention Center (“Jail”). Thompson worked at the
Jail from on or about May 17, 2004, through on or about September 25, 2006. For most of that time,
Thompson was assigned to the Jail’s’Booking area.

While he was employed at the Jail and acting under color of law, Thompson conspired with
other employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates

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“at the Jail by willfully using excessivé and unnecessary physical force against those inmates. The
conspiracy began on a date uncertain before May 17, 2004, and continned through at least August
28, 2006.

Thompson and his co-conspirators engaged ina pattern of conduct that included, but was not
limited to, Thompson and other officers striking, pumching, kicking, choking, and otherwise
assaulting inmates, knowing that the physical force was unnecessary, unreasonable, and unjustified.

During the conspiracy, Thompson participated: in over one hundred assaults against inmates,

| Thompson observed co-conspirators participate in over one hundred additional assaults against
inmates at the Jail. Thompson also heard co-conspirators boasting about their participation in willful
and intentional uses of excessive force, The physical abuse of the inmates usually occurred in the
Booking area, the holding cells, the Booking shower, the “B” hallway, the exercise yard, or in the ~
housing blocks.

la addition, Thompson conspired with other officers to conceal these instances of physical

abuse of inmates, Thompson and his co-conspirators attempted. to, and did in.faet, conceal their

abusive conduct by failing to document their excessive uses of force, and by giving false staternents
and writing false, vague, and: misleading reports.

The conspiracy included the February A, 2006, assault committed by officers against Jessie
Lee Williams, Jr. (“Williams”), an inmate who died after his interaction with the. officers. During
the Williams assault, Corrections Officers Ryan Michael Teel and Regina Lynn Rhodes committed
numerous physical acts that wére not justified uses of force. Those acts included, but were tiot
limited to, Teel striking, punching, choking, and otherwise assaulting Williams in the head, neck and
other areas of Williams’ body. The assault by Teel and Rhodes occurred whilé Williams was .
restrained and the circumstances-did not justify any use of force. Thortrpson assisted Teel by helping
to restrain Williams during part oft the unjustified assault, Williams lapsed into unconsciousness
shortly after these acts. :

{n furtherance of the conspiracy, Thompson wrote and submitted a false, misleading, and

intenti onally ‘vague report concerning the Williams incident. On-.or about February 8, 2006,
Mississippi Highway Patrol agents interviewed Thompson. During that interview, and in furtherance
of the conspiracy, Thompson provided false, misleading, and intentionally vague information

’ concerning the Williams incident. On or about June 14, 2006, Federal Bureau of investigation |
apents' interviewed Thompson, During that interview, and in furtherance of the conspiracy, .
‘Yhompson provided false, misleading, and intentionally vague information concerning the Williams ©
incident,-¢ -as well as other acts that took place during the conspiracy.

The information contained in this Stipulation is provided solely to assist the Court in_
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulation does
not contain every fact known to the Defendant and to the Government conceming the Defendant’s
and/or other’s involvement in the offense conduct and other matters,

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6. Forfeitures

None,

7, This Plea Agreement does NOT Bind the Court

It is further understood that the Court, in accord with the principles of Rules 11(c}(1})(B) of
the Federal Rules of Criminal Procedure, is not required to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided
by law, and the Government has no other obligation 1 in régard to sentencing than as stated in
paragraph 2.

8. Determmation of Sentencing Guidelines

It is further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the appropriate sentence in this case, but the Court may
impose a sentence other than that indicated by the Guidelines ifthe Court finds that another sentence
would be more appropriate. The Defendant acknowledges that he is not relying upon anyone’s
calculation of a particular Guidelines range for the offense to which he is entering his plea, and
recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above.

5, ° Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the ©
consideration for the action taken by the Government herein is the Defendant's representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein.

10. Terms of Cooperation

It is further understood that full cooperation referred to in paragraph 1 includes;

a) immediate and truthful disclosure of all matters involved in this charge to the .
appropriate federal and state agents,

by truthful and complete disclosure of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government;

c) truthful testimony al any trial involving any matter arising from these charges, in

federal or state court;

d) truthful testimony before any Grand Jury. or at any trial in this or any other district on
any matter about which the Defendant has knowledge and which is deemed pertinent
to the Government; , ,

e) full and truthful cooperation with the Government, with any law enforcement agency
designated by the Government, and/or the District Attorney’s office;

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f} attendance at all meetings at which the U.S. Attorney or the District Attorney
requests his presence,

(g) provision to the Government, upon request, of any document, record, or other
tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquires of him; and

(h) an obligation on the part of the Defendant to commit no further crimes whatsoever.

11. Limits on Further Prosecution

Itis further understood that the Government and the District Attorney will seek no flirther
criminal prosecution of the Defendant for any acts or conduct by the Defendant as of the date of this
Agreement, arising out of any event covered by the Infornration referenced in paragraph 1, if the

’ Defendant voluntarily, truthfully, and cornpletely discloses all information and knowledge that the

Defendant possesses. Shouldthe Defendant not voluntarily and completely disclose, then as to that
matter, the Government and/or the District Attorney is free to seek prosecution of the Defendant.
This Plea Agreement does not provide any protection agairist prosecution for any crimes except as
set forth above.

12. Breach of this Agreement

it is further understood that should the Defendant fail or refuse as to any part of this Plea
Agreement or commit any other crimes, the representations by the United States or the District
Attorney in paragraphs 2 and 11 above are rescinded, and the Defendant’s breach shall be considered
sufficient grounds for the pursuit of any prosecutions that the Government or the District Attorney

has not sought as a result of this Plea Agreement, including any such prosecutions that might have .

been dismissed or otherwise barred by the Double Jeopardy Clause.

If the Defendant fails to fulfil! his obligations under this Plea Agreement, the United States
may seek release from any or all obligations under this Plea Agreement. If the Defendant fails to
fulfill his obligations under this Plea Agreement, the Defendant shall assert no claim under the

. United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6) of

the Federal Rules of Criminal Procedure, or any other federal rule, that the Defendant’s statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or are
inadmissible. Whether the Defendant has breached any provision of this Plea Agreement, if
contested by the parties, shall be determined by the Court in an appropriate proceeding at which the
Defendant’s disclosures and documentary evidence shall be adrnissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence.

13, Binding Effect on this Federal District or Upon the District Attorney

It is further understood that this Plea Agreement does not bind any other state or local-
prosecuting authorities or any other federal district, except as otherwise provided herein; further, this
agreement does not bind the Attorney General of the United States in regard to any matter, civil or

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criminal, involving the tax statutes of the United States.

id. Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time ofthe
execution of this document or at the time his plea is entered, the Defendant will then and there pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013,
to the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof
of payment to the Government or to the U.S. Probation Office, Ifthe Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees thal it may be made payable first from any funds available to the Defendant while he is
incarcerated. The Defendant understands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary penalties are imposed by the Court will be due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore, the
Defendant agrees to provide all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtor’s examination. If the Court
imposes a schedule of payments, thé Defendant understands that the schedule of payments is merely
a minimum schedule of payments and not the only method, nor a limitation wpon the methods,
available to the United States to enforce the judgment. If the Defendant is incarcerated, the
Defendant agrees to participate in the Burean of Prisons’ Inmate Financial Responsibility Program
regardless of whether the Court specifically directs his participation or imposes a schedule of
payments.

15. Further Crimes

It is further understood that should the Defendant commit any further crimes, this Plea
Agreement shall be deemed violated and he shall be subject to prosecution for any federal or state
stiminal violation of which the Government has knowledge, and that any information provided by
him may be used against him.

16. | Waivers

. The Defendant, knowing and undetstanding all of the matiers aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his rights to remain silent,
to a trial by jury, to subpoena witnesses on his own behalf, to confront any witnesses against him,
and to appeal his conviction and sentence, in exchange for the recommendations and concessions
made by the Government or the District Attorney in this Plea Agreement, hereby expressly waives
the above rights and the following:

a. The right to appeal the conviction and sentence imposed in this case, or the manner
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, on any ground whatsoever; and

b, The right to contest the conviction and sentence or the manner in which the sentence

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was imposed in any post-conviction proceeding, including but not limited to a motion
brought under Title 28, United States Code, § 2255, and any type of proceeding
claiming to double jeopardy or excessive penalty asa result ofany forfeiture ordered
or to be ordered in this case; and

¢, Any right to seek attorney’s fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the
Government’s position in the instant prosecution is not merely frivolous, vexations,
or undertaken in bad faith; and .

d. Allrights, whethet asserted directly or through a representative, to request or receive
any department or agency of the United States any records pertaining to the
{nveéstigation or prosecution of this case, including without Limitation any records that
may be sought by him or his representative under the Freedom of Information Act,
set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at Title 5,
United States Code, § 552a,

@, The Defendant further acknowledges and agrees that any factual issues regarding his
sentencing will be resolved by the sentencing judge under a preponderance of the
evidence standard, and the Defendant waives any right to’a jury determination of
these sentencing issues. -The Defendant further agrees that, in making its sentencing
decision, the District Court may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at trial,

The Defendant waives these rights in exchange for the recommendation and
concessions made by the Government and the District Attorney in this Plea Agreement.

17. Future Contact with the Defendant

The Defendant and his attorney acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
regular contact with the Defendant during any period of incarceration, probation, and supervised —
release. Further, ihe Defendant and his attorney understand that it is essential that defense counse!
contact the Financial Litigation Unit of the Government immediately after sentencing in this case
to confirm in writing whether defense counsel will continue to represent the Defendant in this case
and in matters involying the collection of the financial obligations imposed by the Court. Ifthe.
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counse! no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
and his attorney understand and agree that such direct contact with the Defendant shail not be
deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the
Government of any continued legal representation within two weeks after the date of entry of the
judgment in this case.

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18. Complete Agreement

{tis further understood that this Plea Agreement completely reflects all promises, agreements,
and conditions made by arid among the Government, the District Attgrney, and the Defendant.

The Defendant and his Attorney of record declare that the terms of this Plea Agreem ent have
been:

. READ.TO OR BY HIM;
EXPLAINED TO HIM BY HIS ATTORNEY;
UNDERSTOOD BY HOM;
VOLUNTARILY ACCEPTED BY HIM; and
. AGREED TO AND ACCEPTED BY HIM.

R&R pare

WITNESS OUR SIGNATURES, as set forth below on November 21, 2006.

FOR THE GOVERNMENT: . FOR THE DEFENDANT:

Dunn Lampton | Morea tee Thompson
United States Attoméy . , Defendant
by: Jack Brooks Lacy, Jr.
' Assistant United States Attorney .

Waldo Oh we H-2ppob

ae Japtds L. Férriorlll, Esq. - Date
‘tworney for Defendant -

ai Nw aed

John Cotton Richmond ~  _ . Date
Trial Attorney
Civil Rights Division, Criminal Section

A ; fh 2p 200g
Con’ Cararina "Date
District Attorney .

Second Circuit Court District

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Case L07-cv-01223-CG-RAW— Document 250-2 +Filed 10/25/10 Page Qof 45
Case 1:06-cr-00116-LG-JMR Document 1 Filed 11/21/2006 Page 1 of 1

, SOUTHEAN DISTRICT OF MISSISSIPA}
FILED
_ INTHE UNITED STATES DISTRICT COURT NOV 21 2006
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI oe
SOUTHERN DIVISION ev dt NOBLIN, CLERK

UNITED STATES OF AMERICA
wo criMINAL NO.|.()(f(P [{U) 1G JMB
MORGAN LEE THOMPSON 18 US.C. § 241

The United States Attorney charges:

From a date uncertain, but at least from May 17, 2004, through at. least August 28, 2006, in
the Southern District of Mississippi, the Defendant, MORGAN LEE THOMPSON, and others
known and unknown to the United States, while employed by the Harrison County Sheriffs

Department and acting under color of law, did knowingly and willfully combine, conspire and agree
with others to injure, threaten, oppress, and intimidate inmates at the Harrison County Adult |
Detention Center in the free exercise and enjoyment of rights and privileges secured to them by the .
Constitution and laws of the United States, namely the right not to be deprived of liberty without
due process of law, which includes the right to be free from the use of unreasonable and excessive —
force amounting to punishment by one acting under color of law, wherein acts committed in |
furtherance of this conspiracy resulted in bodily injury to inmates, all in violation of Sections 241

and 2, Title 18, United States Code.

DUNN LAMPTON
United States Attorney

Case T°0/7-CV-01223-LG-RHW “Document 250-2 Filed 10/25/10 Page 10 of 45

Case 1:06-cr-00116-LG-JMR Document 1-2 me M21/2006 eer dly LGUMR

SOUTHERN DISTRICT OF MISSISSIPR!
FILED

CRIMINAL CASE COVER SHEET 1 2006
U.S. District Court NOV 2.1 ant
PLACE OF OFFENSE; . TT NOBLIN, CLERK

RELATED CASE INFORMATION: By DEPUTY
CITY: SUPERSEDING INDICTMENT DOCKET

SAME DEFENDANT. CW NEW DEFENDANT
COUNTY: _ HARRISON MAGISTRATE JUDGE CASE NUMBER

SEARCH WARRANT CASE NUMBER

R20/ R40 FROM DISTRICT OF
DEFENDANT INFORMATION:
JUVENILE: Yes__X No
MATTER TO BE SEALED: YES KX. NO
NAME/ALIAS: Morcan LEE THOMPSON

‘U.S, ATTORNEY INFORMATION:

AUSA _JLACY BAR # 1757
INTERPRETER: _X NO YES LIST LANGUAGE AND/OR DIALECT:
LOCATION STATUS: ARREST DATE

ALREADY IN FEDERAL CUSTODY AS OF
ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE

U.S.C. CITATIONS

—

TOTAL # OF COUNTS: 1 PETTY MISDEMEANOR FELONY

(CLERK'S OFFICE USE ONLY) INDEX Key/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)

set1 \$8 USe QAULF Busce au Conspiracy Against Rights 1

Set 2

Set 3

Set 4

Date: 11-16-06 SIGNATURE OF AUSA: dew Bi Qu te

Case 1:07-cv-01223-LG-RHW Document 250-2 Filed 10/25/10 ~~ Pagé IT of 45
: Case 1:06-cr-00116-LG-JMR Document14 — Filed 04/22/2008 Page 1 of1

Re 03 8) Administrative Office of the United States Courts
Please Read Instructions: TRANSCRIPT ORDER
1. NAME 2. PHONE NUMBER
| John A. Foxworth Jr, Foxworth Law Office (228) 328-0202 4/18/2008
4. MAILING ADDRESS 5. CITY 6, STATE 7. ZIP CODE
PO Box 2345 Gulfport MSs 39505
8. CASB NUMBER 9, JUDGE DATES OF PROCEEDINGS _.
1:2006cr00116 GUIROLA 10, FROM 11/5/2007 [11,70 11/5/2007
12, CASE NAME LOCATION OF PROCEEDINGS
USA v. Morgan Thompson 13, crry Gulfport [ 14. STATE MS
13, ORDER FOR
APPEAL [&] crimmar [_J CRIMINAL JUSTICE ACT [_j BANKRUPTCY
[2] Non-APPEAL [J civic [J IN FORMA PAUPERIS [.f OTHER

16. TRANSCRIPT REQUESTED (Specify porti on(s) and date(s) of proceeding(s) for which transcript is requested)

PORTIONS DATE(S) PORTION(S) DATE(S)

VOIR DIRE TESTIMONY (Specify Witness}
OPENING STATEMENT (Plaintiff) Morgan Thompson 11/5/2007
OPENING STATEMENT (Defendant)
CLOSING ARGUMENT (Plaintiff F 4 PRE-TRIAL PROCEEDING (Spey)

LJ CLOSING ARGUMENT (Defendant)

Lf OPINION OF COURT
JURY INSTRUCTIONS [J OTHER (Specify)

X] SENTENCING 11/5/2007

BAIL HEARING

ORIGINAL
CATEGORY | (aclides Certified Copy to | FIRST COPY ee
Clerk for Records of the Court)
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CERTIFICATION (18. & 19.)
By signing below, I certify that I will pay all charges

(deposit plus additional).
18. Cony
19. DATES
4/1 oe

DISTRIBUTION; COURT COPY TRANSCRIPTION COFY ORDER RECEIPT ORDER COPY

Case 1:07-cv-01223-LG-RHW Document 250-2 Filed 10/25/10 Page 12 of 45
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AO 245B (Rev. 06/05) Judgment in a Criminal Case

Sheet |
UNITED STATES DISTRICT COURT
SOUTHERN District of MISSISSIPPI
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Morgan Lee Thompson
Case Number: 1:06cr116LG-TMROO1
USM Number: 08259-043

James Farrior
Defendant's Attorney

THE DEFENDANT:

= pleaded guilty to count(s) 1

[] pleaded nolo contendere to count(s)
which was accepted by the court.

L] was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C, 241 Conspiracy against rights 1
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s)

LJ Count(s) L] is [_] are dismissed on the motion of the United States.

Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/5/2007

Date of Imposition of Judgment

| douse Huinelo., bh

Signature of Judge

Louis Guirola, Tr TLS District hidge
Name and Title of Judge

LLU/R/2007
Date

Case 1:07-cv-01223-LG-RHW Document 250-2 Filed 10/25/10 Page 13 of 45
Case 1:06-cr-00116-LG-JMR Document13 Filed 11/09/2007 Page 2 of 6

AO 245B (Rev. 06/05) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 6

DEFENDANT: Morgan Lee Thompson
CASE NUMBER: 1:06cr116LG-JMB-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

48 months as to Count 1

M@ The court makes the following recommendations to the Bureau of Prisons: _
that Defendant be designated to an institution which is closest to his home for which he is eligible

LIThe defendant is remanded to the custody of the United States Marshal.

‘L1The defendant shall surrender to the United States Marshal for this district:

Ol sat 2:00 L] a.m. Bo opm on

C1] as notified by the United States Marshal.
OR
M@ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons or, if not yet designated,

to the Upited States Narvhal January 14, 2008

(1) as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

RETURN
_ Thave executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 1:07-cv-01223-LG-RHW Document 250-2 Filed 10/25/10 Page 14 of 45
Case 1:06-cr-00116-LG-JMR Document13 Filed 11/09/2007 Page 3 of 6

AO 245B (Rev. 06/05) Judgment in a Criminal Case

Sheet 3 —~ Supervised Release

Judgment—Page 3 of 6

DEFENDANT: Morgan Lee Thompson
CASE NUMBER: 1:06cr116LG-JMR-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

two years as to Count 1

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

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The above diug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.

1)
2)

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STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons,

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
tecord or persona history or characteristics and shall permit the probation officer to make such notifications and to confirm the

defendant's compliance with such notification requirement,
Case 1:07-cv-01223-LG-RHW
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) Judgment in a Criminal Case
Sheet 3C — Supervised Release

Document 250-2
Document 13

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DEFENDANT: Morgan Lee Thompson
CASE NUMBER: 1:06cr116LG-JMR-001

Judgment-—Page 4 of 6

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall provide the probation officer with access to any requested financial information.

2. The defendant shall participate in a program of testing and/or treatment for drug abuse, as directed by the probation
officer, until such time as the defendant is released from the program by the probation officer. The defendant shall contribute
to the cost of such treatment to the extent that the defendant 1s deemed capable by the probation officer.
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Sheet 5 — Criminal Monetary Penalties

Judgment — Page 5s 6

DEFENDANT: Morgan Lee Thompson
CASE NUMBER: 1:06cr116LG-JMR-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case(AO 245C) will be entered

after such determination.
1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

TOTALS $ 0 $ 0

Restitution amount ordered pursuant to plea agreement $

C1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1 the interest requirement is waived forthe (] fine [1] restitution.

L] the interest requirement for the [1] fine [2] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 ~— Schedule of Payments

Judgment — Page 6 of 6

DEFENDANT: Morgan Lee Thompson
CASE NUMBER: 1:06cr116LG-JMR-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A ({] Lump sum paymentof$ — 100.00 due immediately, balance due

[] not later than , or
(in accordance Oc OF D OO E,or CJ Fobelow; or

B  [] Payment to begin immediately (may be combined with  [JC, E1D,or  []F below); or

C  (£) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E  (£) Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (4 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crimina monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

L] The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

{] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA
V.

MORGAN THOMPSON CRIMINAL ACTION NO. 1:06CR116

TRANSCRIPT OF PLEA HEARING

BEFORE HONORABLE LOUIS GUIROLA, JR.
UNITED STATES DISTRICT JUDGE

NOVEMBER 21, 2006
GULFPORT, MISSISSIPPI

COURT REPORTER:

TERI B. NORTON, RMR, FCRR
2012 15TH STREET, SUITE 403
GULFPORT, MISSISSIPPI 38501
(228) 563-1740

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APPEARANCES:
REPRESENTING THE GOVERNMENT:

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REPRESENTING THE DEFENDANT MORGAN THOMPSON:
JAMES L. FARRIOR, ESQUIRE

POST OFFICE BOX 4369
GULFPORT, MISSISSIPPI 39502

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THE COURT: United States of America versus Morgan
Lee Thompson. I have it scheduled on my docket this afternoon
for a plea. Is that correct?

MR. RICHMOND: Yes, Your Honor.

THE COURT: Gentlemen, we have a new court reporter,
and I know who you all are, but it would be helpful to the
court reporter if you identify yourselves and who you
represent.

MR. RICHMOND: John Richmond and Lisa Krigsten for
the United States.

MR. FARRIOR: James Farrior for the defendant.

THE COURT: Mr. Farrior, are you and your client
ready to proceed?

MR. FARRIOR: Yes, Your Honor.

THE COURT: Would you come to the lectern, please?
Tt is my understanding that Mr. Thompson earlier today has been
before Judge Roper for an initial appearance; is that correct?

MR. FARRIOR: That is correct, Your Honor.

THE COURT: Mr. Thompson, an announcement has been
made to the Court, both by the attorney for the government, as
well as your own attorney, Mr. Farrior, that you wish to enter
a plea of guilty to an information which has been filed in your
case, an information which alleges a violation of Title 18 of
the United States Code, Section 241, that is, conspiracy to

violate the constitutional rights or rights secured by statute

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of an individual. Is that what you wish to. do in this case,
Sir?

THE DEFENDANT: Yes, sir, it is.

THE COURT: Mr. Thompson, before I can accept your
plea of guilty to this criminal charge, I will need to ask you
a series of questions, and these are questions which are
calculated to ensure that your plea of guilty 1s knowing and
that it is voluntary, and that it is supported by an
independent basis in fact containing all of the essential
elements of this particular offense. I will also need to ask
you some guestions relative to your desire to give up or to
waive your right to Grand Jury indictment and presentment. The
questions I ask you must be answered under cath. Will you
please raise your right hand and permit the Clerk of Court to
administer that oath?

(DEFENDANT SWORN.)

THE COURT: It is also my understanding,

Mr. Thompson, that your willingness to plead guilty here today

comes as a result of a negotiated plea or a plea agreement that
you have entered into with the government. Is that correct?
THE DEFENDANT: Yes, sir.
THE COURT: Mr. Thompson, can I get you and
Mr. Farrior to change places? It would be easier to hear that
microphone. Is this the original document, Mr. Farrior, the

original plea agreement?

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MR. FARRIOR: Yes, Your Honor.

THE COURT: The plea agreement has been executed by
all of the parties and has been revealed in open court. I will
ask that the Clerk of Court file it and it be made part of the
record pursuant to Rule ll(c) (2) of the Federal Rules of
Criminal Procedure. Mr. Thompson, I am going to be asking you
questions, and you will be answering under oath. Please bear
in mind when I ask you these questions that if you answer any
of them falsely, you could be exposing yourself to a new or
different prosecution for making a false statement or perhaps
even perjury. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Before we get too very much further, I
want to ask you about your willingness to waive your
constitutional right to Grand Jury presentment and indictment.
This case has been brought against you, or this criminal charge
has been brought against you by way of an information. An
information is a written criminal charge that is brought by the
U.S. Attorney.

Now, no person can be charged with a felony such as this
offense unless first a Grand Jury meets and hears evidence and,
based upon that evidence, determines there is probable cause to
believe that a crime has been committed and that you committed
that crime. You can, of course, if you wish, waive your right

to Grand Jury indictment and presentment and permit the United

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States Attorney to bring a charge against you. Of course, if
you do not waive the right to a Grand Jury, there is nothing
that would prevent the United States Attorney's Office from
presenting evidence to this Grand Jury and to seek an
indictment. This Grand Jury that I am referring to is a group
of people, not less than 16 and not more than 23, and at least
12 of those people would have to agree, based upon the evidence
that they hear, that there is probable cause to believe that a
crime has been committed with which you could be charged before
an indictment could be returned,

Now, Grand Jury proceedings are secret, their deliberative
process is secret, and no one can presume to predict what a
Grand Jury will do in one particular case or another. In your
case you might be indicted, but, on the other hand, you might
not. What you need to understand is, if you waive your right
to the Grand Jury, then this case will proceed just as though
the Grand Jury had actually met and had actually returned an
indictment.

Now, have you discussed with your attorney your decision
to waive your right to Grand Jury presentment and indictment?

THE DEFENDANT: Yes, sir, I have.

THE COURT: Has anyone forced you or threatened you
in any manner in order to cause you to waive that important
right?

THE DEFENDANT: No, sir.

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THE COURT: Has anyone made you any types of promises
or assurances of any type in order to cause you to waive your
right to a Grand Jury?

THE DEFENDANT: No, sir.

THE COURT: Mr. Farrior, have you discussed this
aspect of your client's case with him, and are you satisfied
that his waiver of the right to Grand Jury is knowing and
voluntary?

MR. FARRIOR: Yes, Your Honor.

THE COURT: Did Mr. Thompson undergo a similar
questioning before Judge Roper?

MR. FARRIOR: Yes, sir.

THE COURT: It is an important part of any criminal
process, Mr. Thompson, and the fact that two judges go over it
with you seems to underscore the fact that it is important.
Has Mr. Thompson executed a waiver of Grand Jury form?

MR. FARRIOR: I believe so, Your Honor.

THE COURT: Was that filed with Judge Roper?

MR. RICHMOND: It is on file with Judge Roper.

THE COURT: Well, I am sure that Judge Roper must
have concluded that his waiver of the Grand Jury is knowing and
voluntary. I also so conclude, and this case will proceed on
the government's information.

Now, Mr. Thompson, again, I am going to be asking you

questions that you will answer under oath upon this charge that

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has been brought by way of a criminal information. Please
state your full name for the record.

THE DEFENDANT: It is Morgan Lee Thompson.

THE COURT: Mr. Thompson, how old are you, sir?

THE DEFENDANT: Twenty-nine years old, sir.

THE COURT: Tell me, how far did you get in school?

THE DEFENDANT: Eleventh grade, got a GED.

THE COURT: Eleventh grade, and you got a GED?

THE DEFENDANT: Yes, Sir.

THE COURT: Where did you obtain the GED?

THE DEFENDANT: In Denver, Colorado.

THE COURT: Were you in.the military at the time, or
did you go to a school?

THE DEFENDANT: I went to a school.

THE COURT: When did you obtain your GED?

THE DEFENDANT: The year 2000.

THE COURT: Since the year 2000, did you get any
college training anywhere?

THE DEFENDANT: I had a police academy training
course.

THE COURT: Let's back up first, before I get into
your academy training. Have you held any jobs since you
received your GED?

THE DEFENDANT: Yes, Sir.

THE COURT: Tell me about the types of jobs you have

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held and where you have held them.

THE DEFENDANT: A lot of different security jobs,
just security companies, community patrols, things of that
matter.

THE COURT: Did you receive any specialized training
to become a security officer or a security guard?

THE DEFENDANT: No, sir.

THE COURT: What have you been doing in the last six
months?

THE DEFENDANT: Working at a security company.

THE COURT: Any one in particular?

THE DEFENDANT: Drexel Caldwell Investigations, and
also Executive Protection Services.

THE COURT: Describe to me what your function was or
what your job has been with the security company.

THE DEFENDANT: Just to monitor buildings. With
Drexel Caldwell Investigations, we do nightclub security.

THE COURT: Did you receive any specialized training
for that?

THE DEFENDANT: No, sir, I did not.

THE COURT: Other than your work as a security
officer or a security guard, have you ever held any other types
of jobs?

THE DEFENDANT: Yes, sir, labor jobs, restaurants,

when I was younger, things like that.

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THE COURT: Pull that microphone a little closer. I
am having a little difficulty hearing you. Have you been
treated, Mr. Thompson, recently for mental illness or addiction
to narcotic drugs?

THE DEFENDANT: No, sir, I have not.

THE COURT: Are you currently under the influence of
any drug or any medication or alcohol beverage of any kind?

THE DEFENDANT: No, sir.

THE COURT: Mr. Thompson, have you received a copy of
the information, that is, the written charge that is pending in
this case, and have you had an opportunity to go over the
charge contained in that information with your lawyer,

Mr. Farrior?

THE DEFENDANT: Yes, sir, I have.

THE COURT: Has Mr. Farrior discussed your case in
general with you?

THE DEFENDANT: Yes, sir, he has.

THE COURT: Has he discussed the possible defenses
you might have to this charge?

THE DEFENDANT: Yes.

THE COURT: Has he discussed with you witnesses you
might be able to call in defense of this charge?

THE DEFENDANT: Yes, he has.

THE COURT: Has he shared with you and gone over with

you the evidence that the government has amassed and intends to

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use at trial, in the event that this case were to go to trial?

THE DEFENDANT: Yes, sir.

THE COURT: Are you fully satisfied with the counsel,
the representation, and the advice that Mr. Farrior has given
you in this case?

THE DEFENDANT: I am, Sir.

THE COURT: Now, it is apparent that you have entered
into a plea bargain or a plea agreement with the government,
and that plea bargain or plea agreement has been reduced to
writing and has now been filed with the Clerk of the Court. I

also notice that the plea agreement was signed by both you and

jyour attorney, but before you signed that plea agreement, did

you have an opportunity to read it and to go over it with your
lawyer?

THE DEFENDANT: Numerous times, sir.

THE COURT: Did you go over it with him?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand all of the terms and
all of the conditions of your plea agreement with the
government?

THE DEFENDANT: ves, Sir, I did.

THE COURT: Other than this written plea agreement
that I have before me, has anyone made you any other types of

promises or assurances of any kind in order to cause you to

plead guilty?

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THE DEFENDANT: No, sir, they have not.

THE COURT: Has anyone forced you or threatened you
or in any way coerced you in order to enter a plea of guilty in
this case?

THE DEFENDANT: No, sir.

THE COURT: Now, I am going to go over some of the
terms and some of the conditions in the plea agreement with
you, Mr. Thompson, to satisfy myself that you are aware of what
18 in it and aware of the consequences of entering a plea of
guilty to this particular charge. In your plea agreement with
the government, you are agreeing that you will enter a plea of
guilty to this one count information which charges a conspiracy
to deprive another person of certain civil rights under color
of law, under Title 18 of United States Code, Section 241. Is
that correct?

THE DEFENDANT: Yes, sir.

THE COURT: In exchange for your plea of guilty, the
government will, first of all, recommend that the Court accept
your plea of guilty; secondly, that the United States Probation
Office -~- that they will inform the United States Probation
Office and the Court of this agreement and the nature and
extent of your activities with respect to this case. Is that
your understanding as well?

THE DEFENDANT: Yes, sir, it is.

THE COURT: As a result of your early decision to

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timely notify the government of your intention to enter a plea
of guilty to this information, and if you qualify for an
additional one-level downward adjustment under the Federal
Sentencing Guidelines for acceptance of responsibility, they
will make a recommendation that you get an additional level, or
a total of three levels for acceptance of responsibility. Is
that your understanding?

THE DEFENDANT: Yes, sir.

THE COURT: I want to direct your attention to page
six of your plea agreement with the government under paragraph
16. It is a paragraph which is entitled "Waivers." Now,
waivers means that you are going to give something up. You are
going to give something away. In this case you are giving up,
under paragraph 16A, the right to appeal the conviction or the
right to appeal the sentence which is imposed in this case on
any ground whatsoever. Is that your understanding?

THE DEFENDANT: Yes, Sit.

THE COURT: Under paragraph 16B you are also agreeing
that you will waive or give up the right to contest the
conviction or to contest the sentence in this case in any
post-conviction proceeding. Is that your understanding as
well?

THE DEFENDANT: Yes, sir, it is.

THE COURT: Now, Mr. Thompson, I need to advise you

that the right to appeal a conviction or the right to appeal a

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sentence and the right to contest it in a post-conviction
proceeding, these are important and valuable rights. Have you
fully discussed with your lawyer this particular aspect of your
plea agreement with the government?

THE DEFENDANT: Yes, sir.

THE COURT: Has anyone forced you or threatened you
in any way in order to cause you to waive these rights?

THE DEFENDANT: No, sir.

THE COURT: Has anyone made you any types of side
offers or promises of any type in order to get you to waive
these rights?

THE DEFENDANT: No, sir.

THE COURT: Mr. Farrior, in view of the fact that
these are such important and valuable rights, have you fully
counseled with your client on this aspect of his plea
agreement, and are you satisfied as his attorney that his
waiver of the right to appeal the sentence or to contest it in
a post-conviction proceeding is knowing and voluntary?

MR. FARRIOR: Yes, Your Honor.

THE COURT: Mr. Thompson, do you understand that the
government's obligation under this plea agreement is to make
certain recommendations, but these are recommendations only,
and they are not binding upon the Court? In other words, I
could reject their recommendations, and I could sentence you up

to the maximum provided by law, and you would not be permitted

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to withdraw your guilty plea. Do you understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: Now, I haven't gone over every term or
every condition of your plea agreement with you, but do you
understand that whether I go over them with you orally in court
or not, it is the written document that controls and binds both
you and the government?

THE DEFENDANT: I understand that, sir.

THE COURT: Do you understand, Mr. Thompson, that in
your plea agreement, beginning on page two, there are certain
stipulations that are made, certain stipulations of fact, but
if the government has entered into any stipulations of fact,
those also are not binding upon the Court. In other words, I
could make my own determinations about the facts of this case,
and I am not bound by these stipulations. Do you understand
that?

THE DEFENDANT: Yes, Sir.

THE COURT: Do you understand, Mr. Thomoson, that the
offense to which you are pleading guilty is a felony offense,
and if you are adjudged guilty of a felony, that could very
well have the effect of depriving you of other valuable
constitutional rights, such as the right to vote, the right to
hold public office, the right to serve on a jury, and the right
to possess a firearm?

THE DEFENDANT: Yes, sir.

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THE COURT: Do you understand, Mr. Thompson, that the
maximum penalty provided by law, that is, the maximum penalty
provided by statute to which you are exposed for a violation of
Title 18 of the United States Code, Section 241, as is alleged
in this information, 18 a term of imprisonment not to exceed
ten years, a term of supervised release of not less than three
years, a fine of up to $250,000, and a mandatory special
assessment in the amount of $100. That is the maximum penalty
which is provided by statute. Do you understand the maximum
penalty in this case?

THE DEFENDANT: Yes, sir, I do.

THE COURT: Do you also understand that under some
circumstances the Court would have the authority to impose an
order of restitution, and you would have to make restitution to
any victims in this case?

THE DEFENDANT: ‘Yes, sir.

THE COURT: Have you discussed with your attorney,
and do you understand, Mr. Thomoson, what it means to be placed
on supervised release?

THE DEFENDANT: Yes, Sir.

THE COURT: I am going to go over that with you
because it is an important aspect of a criminal sentence. If
you are sentenced to a term of imprisonment, and if you are
also sentenced to a term of supervised release, then once you

are released from custody, you would be required to live under

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the supervision of the probation office, and you would be
required to live under certain conditions. We call those the
conditions of supervised release. Now, while on supervised
release, if you were to violate any of those conditions, that
could result in a revocation of your supervised release, and if
your supervised release is revoked, you could be sentenced to
an additional term of imprisonment. Now, do you understand
what is meant by supervised release?

THE DEFENDANT: Yes, sir, IT do.

THE COURT: I think it important, under paragraph 11
of the plea agreement, that we point out, and Mr. Thompson, I
want to be sure that you understand that as part of this plea
agreement, the District Attorney in this particular district
will seek no further criminal prosecution against you as of the
date of this agreement. Is that your understanding?

THE DEFENDANT: Yes, sir, it is.

THE COURT: I notice also that the District Attorney
is a signatory to the plea agreement, and Mr. Caranna, I notice
you are in the courtroom. Is that your understanding of the
obligations under this plea agreement as well?

MR. CARANNA: Yes, sir, it is.

THE COURT: Thank you, sir.

Mr. Thompson, have you discussed with your lawyer and do
you think you understand all of the consequences, all of the

possible consequences of entering a plea of guilty to this

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charge?

THE DEFENDANT: Yes, SIL.

THE COURT: Mr. Thompson, under the provisions of the
Sentencing Reform Act of 1984, the United States Sentencing
Commission has issued certain rules and regulations that Courts
should consider in determining a sentence in a criminal case.
We call those rules and those regulations the Federal
Sentencing Guidelines. Have you discussed with Mr. Farrior how
the Federal Sentencing Guidelines might apply to your case?

THE DEFENDANT: Yes, Sir.

THE COURT: Do you understand that this Court will
not be able to determine your guideline calculations until
after a presentence investigation report has been completed,
and both you and the prosecution have had an opportunity to
make any objections to either the findings of fact or the
application of the guidelines?

THE DEFENDANT: Now I do, sir.

THE COURT: Mr. Thompson, it is very likely that in
your discussions with Mr. Farrior about the Sentencing
Guidelines, he may have made some predictions or may have made
some calculations, but do you understand that your sentence,
that is, the sentence that you ultimately receive in this case,
may be different from any prediction or calculation that
Mr. Farrior may have made on your behalf?

THE DEFENDANT: Yes, sir, I do.

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THE COURT: Do you also understand that under some
Cclrcumstances this Court has the authority to depart from the
guidelines; that means to impose a sentence that is more severe
or is less severe than that which is called for by the
guidelines?

THE DEFENDANT: Yes, sir.

THE COURT: Do you also understand, Mr. Thompson,
that parole in the federal system has been abolished, and if
you are sentenced to a term of imprisonment, you will not be
released on parole?

THE DEFENDANT: Yes, sir.

THE COURT: Do you also understand, and this is very
important that you be sure that you do understand, that the
Federal Sentencing Guidelines have been determined by the
Supreme Court not to be binding upon the Court, but instead
they are advisory? In other words, this Court has the
discretion to sentence you up to the maximum penalty provided
by law. Do you understand that?

THE DEFENDANT: Yes, sit.

THE COURT: Do you also understand that under some
circumstances either you or the government would have the right
to appeal the sentence in this case, but you have voluntarily
elected to give up the right to appeal the sentence or to
contest the sentence in a post-conviction proceeding? Is that

correct?

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THE DEFENDANT: Yes, sir.

THE COURT: Mr. Thompson, do you understand, sir,
that you have a right to plead not guilty, and were you to
plead not guilty in this case, you would be entitled to a
trial. At that trial you would be presumed to be innocent, and
it would be the burden of the prosecution, that is, the
government, to prove your guilt to the unanimous satisfaction
of a jury beyond a reasonable doubt.

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand that at that trial you
would have the right to the assistance of counsel? You would
have the right to see and to hear and to cross-examine. That
means ask questions under oath of all of the government's
witnesses. You yourself would have the right to call your own
witnesses, and if necessary, you would have the right to compel
their attendance by subpoena. You would have the right to
testify, and if you chose not to testify or to present any
evidence at all, that fact could not be used against you in
determining guilt and innocence.

Now, what I have just described is your right to trial and
rights that are associated with trial. Do you understand that
you have the right to a trial in this case?

THE DEFENDANT: Yes, I do.

THE COURT: Do you understand that by pleading guilty

to this information, you are giving up your right to trial and

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all of the rights associated with trial as I have just
described them?

THE DEFENDANT: Yes, sir.

THE COURT: Very well. Mr. Thompson, you are charged
in this information with a violation that can be found under
Title 18 of the United States Code, Section 241. This
information specifically charges that from a date which is
uncertain, but at least May 17th of 2004, through at least
August 28th of 2006, and within this judicial district, that
yourself and others, both known and unknown to the government,
while employed by the Harrison County Sheriff's Department, and
acting under color of law, that you did knowingly and willfully
combine, conspire, and agree together with others to injure,
threaten, oppress, and intimidate inmates at the Harrison
County Adult Detention Center in the free exercise and
enjoyment of rights and privileges secured to them by the

Constitution and the laws of the United States. Specifically,

Jjthe right not to be deprived of liberty without due process of

law, which includes the right to be free from the use of
unreasonable and excessive force amounting to punishment by one
acting under color of law, wherein those acts committed in
furtherance of the conspiracy resulted in bodily injury to said
inmates. Is this the offense to which you wish to plead
guilty?

THE DEFENDANT: Yes, sir.

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THE COURT: Do you understand, Mr. Thompson, if you
were to plead not guilty, the government would be required to
prove all of those elements to the unanimous satisfaction of a
jury before you could be convicted?

THE DEFENDANT: Yes, Sir.

THE COURT: I would invite the prosecutor to take the
lectern, please, and proffer into the record the facts that the
government would be able to establish in the event that this
case were to go to trial.

MR. RICHMOND: Your Honor, the facts are included in
the plea agreement under paragraph five. The government would
be able to prove that Morgan Lee Thomoson, former Harrison
County Sheriff's Department correction officer worked at
Harrison County Adult Detention Center. Thompson worked the
jail from on or about May 17, 2004 through on or about
September 25, 2006. For most of that time Thompson was
assigned to the jail's booking area. While employed at the
jail, acting under color of law, Thompson conspired with other
employees at the jail also acting under color of law to injure,
threaten, and intimidate inmates at the jail by willfully using
excessive and unnecessary physical force against those inmates.

The conspiracy began on a dated uncertain, before
May 17th, 2004, and continued at least through August 28, 2006.
Thompson and his co-conspirators engaged in a pattern of

conduct that included but was not limited to Thompson and other

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officers striking, punching, kicking, choking, and otherwise
assaulting inmates, knowing that the physical force was
unnecessary, unreasonable, and unjustified. During the
conspiracy Thompson participated in over 100 assaults against
inmates. Thompson observed co-conspirators participate in over
100 additional assaults against inmates. Thompson also heard
co-conspirators boasting about their participation in willful
and intentional uses of excessive force. The physical abuse of
inmates usually occurred in the booking area, the holding
cells, the booking shower, the B hallway, the exercise yard, or
in the housing blocks. In addition, Thompson conspired with
other officers to conceal these instances of physical abuse of
inmates. Thompson and his co-conspirators attempted to, and in
fact did, conceal their abusive conduct by failing to document
their excessive uses of force, and by giving false statements
and writing false, vague, and misleading reports.

The conspiracy included the February 4th, 2006 assault
committed by officers against Jessie Lee Williams, Jr., an
inmate who died after his interaction with the officers.

During the Williams assault correctional officer Ryan Michael
Teel and Regina Lynn Rhodes committed numerous physical acts

which were not justified uses of force. Those acts included

but were not limited to Teel striking, punching, choking, and
otherwise assaulting Williams in the head, neck, and other

areas of Williams’ body. The assault by Teel and Rhodes

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occurred while Williams was restrained, and the circumstances
did not justify uses of force. Thompson assisted Teel by
helping to restrain Williams during part of the unjustified
assault. Williams lapsed into unconsciousness shortly after
those acts.

In furtherance of the conspiracy, Thompson wrote and
submitted false, misleading, and intentionally vague reports
about Williams’ incident. On February 8, 2006, the Mississippi
Highway Patrol agents interviewed Thompson, and during that
interview and in furtherance of the conspiracy, Thompson
provided false, misleading, and intentionally vague information
concerning the Williams incident. On or about June 14, 20006,
Federal Bureau of Investigation agents interviewed Thompson.
During that interview and in furtherance of the conspiracy,
Thompson provided false, misleading, and intentionally vague
information concerning the Williams incident, as well as other
acts that took place at the jail.

THE COURT: Thank you. Mr. Thompson, you had an
opportunity to hear what the government has told the Court that
they could prove in the case in the event that it were to go to
trial. Are those facts correct?

THE DEFENDANT: Yes, sir.

THE COURT: Are the facts which are contained under
paragraph five of the plea agreement, that begins on page two

and ends on page three of the plea agreement, are those facts

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contained within that stipulation, are they correct as well?

THE DEFENDANT: Yes, sir.

THE COURT: Very well. Then to the charge which is
pending by way of information, that is, a violation of Title 18
of the United States Code, Section 241, conspiracy to violate
an individual's constitutional. rights or civil rights, how do
you plead; guilty or not guilty?

THE DEFENDANT: Guilty, Your Honor.

THE COURT: It is the finding of the Court that this
defendant is fully competent and capable of entering an
informed plea, that the defendant is aware of the nature of the
charge and the consequences of that plea. It is also the
finding of the Court that the defendant's plea of guilty is a
knowing and voluntary plea which is supported by an independent
basis in fact containing each of the essential elements of the
offense charged. His plea of guilty is therefore accepted, and
he is now adjudged guilty of that offense.

Mr. Thompson, as you may recall, I told you that the Court
will not be able to determine your sentencing guideline
calculations until after a presentence investigation report is
completed and both you and the prosecution have had an
opportunity to challenge either the facts reported in that
presentence investigation report or the application of the
guidelines as recommended by the probation officer. Let me

underscore that this is only one aspect of sentencing, that is,

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the calculation of the sentencing guideline range, and those
calculations and guidelines are not binding upon the Court but
are merely advisory. Prior to sentencing you will also have
the right to speak on your own behalf or to have your attorney
speak on your behalf as well. Sentencing in this case is
scheduled for January 30th of 2007 at 9:00 a.m. here in
Gulfport. That will be your next scheduled court appearance.
Again, that is January 30, 2007 at 9:00 a.m.

Did Judge Roper set conditions of release?

MR. FARRIOR: Yes, Your Honor.

MS. SANDRA DOLL: Yes, sir, Your Honor.

THE COURT: What do those include? Hit the high
points.

MS. SANDRA DOLL: Your standard conditions of
pretrial release, urine surveillance, travel restrictions, no
contact with any potential witnesses, surrender passport,
things of that nature.

THE COURT: Then the government made no. request for
detention; is that correct?

MR. RICHMOND: Correct, Your Honor.

THE COURT: Are you convinced that this is not a
detention case?

MR. RICHMOND: Yes, Your Honor.

THE COURT: Very well. Then you may remain on the

same conditions of release previously set by the Magistrate

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Judge in your case. [I will remind you that your next scheduled
court appearance is January 30th at 9:00 a.m. for purposes of
sentencing. Anything else on behalf of the government?

MR. RICHMOND: No, Your Honor.

THE COURT: Anything else, Mr. Farrior, on behalf of
your client?

MR. FARRIOR: No, Your Honor.

THE COURT: Thank you, Gentlemen. You are excused.
Let's take a very short recess, and then we will take up the

next case.

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CERTIFICATE OF COURT REPORTER

I, Teri B. Norton, RMR, FCRR, Official Court
Reporter for the United States District Court for the Southern
District of Mississippi, appointed pursuant to the provisions
of Title 28, United States Code, Section 753, do hereby certify
that the foregoing is a correct transcript of the proceedings
reported by me using the stenotype reporting method in
conjunction with computer-aided transcription, and that same is
a true and correct transcript to the best of my ability and
understanding.

T further certify that the transcript fees and format
comply with those prescribed by the Court and the Judicial

Conference of the United States.

s/ FERI B. NORION

TERI B. NORTON, RMR, FCRR
OFFICIAL COURT REPORTER

